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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION
                                                                          Electronically Filed
  SALLIE BINGHAM                                           )
                                                           )
                        Plaintiff,                         )
                                                           )
  v.                                                       ) CASE NO. 3:24-cv-211-CRS
                                                           )
  KENTUCKY FOUNDATION FOR WOMEN, INC.,                     )
                                                           )
                        Defendant.                         )

                  DEFENDANT’S MOTION TO DISQUALIFY COUNSEL

        It recently came to the attention of the undersigned that Dentons Bingham Greenebaum

 LLP (“Dentons”) almost certainly has a disqualifying conflict of interest in representing

 Plaintiff/Counterclaim-Defendant Sallie Bingham (“Bingham”) in this matter. Prior to Dentons

 filing Bingham’s Complaint in this case, Dentons served as the primary outside counsel for

 Defendant/Counterclaim-Plaintiff Kentucky Foundation for Women, Inc. (“KFW”), a small non-

 profit with minimal staff that employs no in-house attorneys. KFW went to Dentons with nearly

 every single need for legal advice for more than a decade, regardless of the subject matter, giving

 Dentons a sprawling view into KFW’s confidential information. Critically, KFW sought and

 received privileged legal advice from Dentons on at least three topics that are now issues in this

 lawsuit, with one instance taking place a mere 24 days before the filing of Bingham’s Complaint.

 Dentons abruptly, and without explanation, terminated KFW as a client only 11 days before the

 filing of that Complaint. Dentons did not provide any notification to KFW regarding this lawsuit,

 nor did it seek KFW’s consent to represent a party asserting claims against KFW, violating

 Kentucky’s Rules of Professional Conduct and warranting Dentons’s disqualification. For the

 reasons set forth herein, KFW, by counsel, respectfully moves the Court to disqualify Dentons in



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 this matter and to order Dentons to compensate KFW for its legal fees and costs in bringing this

 motion and a related motion for protective order.

                                              FACTS

        KFW is a Kentucky nonprofit corporation that is recognized as an exempt private

 foundation under section 501(c)(3) of the Internal Revenue Code of 1986, as amended. (LaRue

 Aff., Exh. A, ¶ 3.) Since its formation, KFW has promoted “positive social change by supporting

 varied feminist expression in the arts.” (KFW’s Counterclaims, D.N. 10, ¶ 16.) KFW primarily

 has done so through issuing financial grants to Kentucky female artists. (Id. ¶ 17.)

        KFW is a relatively small organization. At any given time over the past ten years, it has

 employed two to three full-time employees and approximately two to three part-time employees.

 (LaRue Aff., Exh. A, ¶ 5.) Sharon LaRue (“LaRue”) has served as KFW’s Executive Director

 since 2014. (Id. ¶ 2.)

        In 1987, KFW used KFW assets to purchase a property called “Hopscotch House” that is

 at the heart of this lawsuit. (KFW’s Counterclaims, D.N. 10, ¶ 7.) KFW eventually began using

 the Hopscotch House as a setting for retreats for female artists. (Id. ¶ 22.) This continued for

 several decades. During those years, Bingham approached KFW at various times about purchasing

 Hopscotch House from KFW, obtaining a right of first refusal to purchase Hopscotch House, and

 having KFW place Hopscotch House in a conservation easement to prevent development near

 Bingham’s personal real estate. As years went on, interest in Hopscotch House from female artists

 declined, maintenance costs rose, and KFW rightfully explored selling the property. Bingham

 filed suit in this case to stop that sale, with Dentons as her counsel. Hopscotch House, how KFW

 acquired it, statements that Bingham made about KFW in response to KFW trying to sell




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 Hopscotch House, and disputes between Bingham and KFW related to Hopscotch House are now

 at the center of this lawsuit.

         It might seem surprising, then, that Dentons had been KFW’s long-time, primary outside

 counsel since before 2014, and potentially for much longer. (LaRue Aff. Exh. A, ¶¶ 2, 7.) Since

 at least 2014, KFW’s primary contact at Dentons has been Brent Baughman (“Baughman”), who

 practices employment law. (Id. ¶ 8.) But KFW sought Dentons’s advice on different matters that

 were not employment related, and Baughman would consult with other attorneys in his firm as

 needed on these other, non-employment issues. (Id.) Since LaRue became Executive Director in

 2014, KFW’s engagement with Dentons has been ongoing and served almost every need for legal

 advice that arose, from employment issues, tax laws, rules governing its non-profit status, IT, lease

 agreements, real estate, issues related to Hopscotch House, and more. (Id. ¶ 8) There was not any

 explicit limitation on Dentons’s scope or length of representation; LaRue does not remember

 signing any engagement letters that restricted Dentons’s services or that provided any specific

 endpoint for its representation. (Id.)

         More than that, KFW specifically sought and received counsel from Dentons during the

 past six years on several matters that are now encompassed in this lawsuit. (Id. ¶ 9.) These topics

 included disagreements with Bingham regarding the use of her property surrounding Hopscotch

 House; Bingham’s attempts to purchase Hopscotch House and to procure a right of first refusal for

 the purchase; and protecting KFW’s reputation in response to defamatory statements made by

 Bingham (after she learned that KFW was selling Hopscotch House). (Compare id. ¶ 9, with

 KFW’s Counterclaims, D.N. 10, ¶ 35, 37–38.) KFW shared privileged substantive information

 (which now relates to claims in this case) with Dentons so it could provide appropriate, well-

 informed advice. (LaRue Aff., Exh. A, ¶ 9.)



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        This occurred as recently as March 5, 2024. (Id. ¶ 10.) LaRue, on behalf of KFW,

 contacted Baughman to ask about one of the defamatory statements that is now a claim in this

 lawsuit. (Id.) Baughman asked to discuss this matter over the phone and specifically stated he

 needed background information from her.1 (Id.) He and LaRue then spoke on the phone on March

 5, 2024. (Id.) That conversation was substantive: LaRue discussed her question and potential

 outcomes in detail with Baughman and sought his advice on KFW’s options. (Id.) Baughman

 concluded the call by saying he would look further into the issue and follow-up with her. (Id.)

        But that never happened. Instead, Baughman’s next contact with KFW occurred on March

 18, 2024 when he abruptly terminated Dentons’s longstanding representation of KFW. (Id. ¶ 11.)

 KFW had absolutely no warning that this was coming, and Dentons provided no explanation for

 what prompted the termination.

        This timeline warrants emphasis: on March 5, 2024, Dentons had substantive

 communications with its client, KFW, about privileged information relating to a claim that is part

 of this lawsuit; 13 days later, on March 18, 2024, Dentons terminated its very long relationship

 with KFW without stating a reason and while KFW was still awaiting advice from Baughman; and

 11 days later, on March 29, 2024, Dentons initiated this lawsuit against KFW on behalf of

 Bingham.

        Dentons did not advise KFW that it anticipated filing this matter against KFW. It did not

 ask KFW for its consent to represent Bingham, nor did it provide any written notice that Baughman




 1
   As explained in detail below, parties moving to disqualify are not required to share confidential
 information through their motions, out of concern for revealing privileged information to an
 opposing party and conflicted counsel. See Bowers v. Ophthalmology Grp., 733 F.3d 647, 651
 (6th Cir. 2013). However, KFW has numerous emails that substantiate the factual information in
 this motion and LaRue’s affidavit and can provide them to the Court under appropriate protections
 such as an in camera, ex parte review.
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 and others who had previously worked for KFW were “screened” away from this dispute. (See

 LaRue Aff., Exh. A, ¶¶ 16–18.)

        KFW turned to new legal counsel in order to defend it in this lawsuit and retained Wyatt,

 Tarrant & Combs, LLP (“Wyatt”). (Id. ¶ 14.) KFW responded to Bingham’s Complaint on April

 24, 2024, and asserted numerous counterclaims. (KFW’s Ans. and Counterclaims, D.N. 10.)

 Bingham then moved to dismiss all of KFW’s counterclaims. (D.N. 11.) The matter laid dormant

 while that motion was pending. There was not any substantive action until the Court issued its

 Memorandum Opinion and Order on March 6, 2025. (D.N. 25.)

        Soon after, on March 13, 2025, KFW mentioned to the undersigned for the first time that

 Dentons had previously represented KFW. (LaRue Aff., Exh. A, ¶ 14.) The topic arose only by

 happenstance, (id.), but the undersigned quickly learned the nature and length of the prior

 relationship. With no legal training, Dentons’s former representation had not seemed relevant to

 KFW staff or something they needed to discuss with current counsel. (Id. ¶¶ 4, 5, 14–15.) KFW

 did not understand any of the rights it had as a former client of Dentons or the implications of a

 conflict of interest, and it certainly did not know that it could move to disqualify Dentons. (Id. ¶

 15.) None of the employees at KFW are attorneys. (Id. ¶¶ 4–5.)

        Two business days later, on March 17, 2025, the undersigned contacted Dentons. (Exh. B,

 3/17/2025 email.) He informed them that this issue had just come to his attention and, as he then

 understood it, seemingly invoked several Rules of Professional Conduct, specifically Rules 1.7,

 1.8, and 1.9. He acknowledged that there could be more to their side of the story, though, and

 asked them to explain. (Id.)

        In response, Dentons essentially brushed away the undersigned’s concerns and shifted the

 blame to everyone but Dentons. It first accused the undersigned—baselessly—of strategically



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 raising this issue “on the heels of the Court’s orders dismissing in large part KFW’s purported

 counterclaims . . . .” (Exh. C, 3/20/2025 letter.) Dentons then went on to say that, somehow, it did

 not believe there was any conflict of interest requiring it to obtain KFW’s consent. (Id.) Dentons

 acknowledged that Baughman and other attorneys provided advice to KFW but claimed—

 falsely2—that those representations were limited to employment matters. (Id.) Additionally,

 Dentons acknowledged that it had evaluated the possibility of a conflict at the outset of the

 litigation. (Id.) But, even though they understood there was a potential conflict, they still did not

 seek KFW’s consent for a waiver of the conflict. (Id. (“we . . . after consulting with our firm’s

 General Counsel, stand by our initial conclusion that there is no conflict of interest under the

 Kentucky Rules of Professional Conduct that precludes our firm from representing Bingham in

 connection with her pending claims against KFW, or requires us to obtain KFW’s consent”)

 (emphasis added).)

        Dentons then attempted to rewrite the narrative concerning the March 5, 2024 conversation

 between Baughman and LaRue. Dentons acknowledged that LaRue emailed Baughman regarding

 “certain statements allegedly made by Ms. Bingham.” (Id.) But Dentons self-servingly minimized

 Baughman’s communications with KFW, alleging that Baughman merely informed LaRue “that

 he could not offer related advice to KFW.”3 (Id.) Dentons then explained that its abrupt

 termination letter on March 18, 2024 sufficiently converted KFW into Dentons’s former client.

 (Id. (“our firm plainly had no attorney-client relationship with KFW at the time it filed the pending




 2
   As stated above and discussed in more detail below, the Sixth Circuit makes clear that a movant
 is not required to provide confidential evidence in a motion to disqualify. Nevertheless, KFW has
 numerous documents showing the wide-ranging issues upon which Dentons advised KFW, which
 the Court could review ex parte and in camera if Dentons persists in its false description.
 3
   This claim, too, is inconsistent with documents that KFW can provide to the Court ex parte and
 in camera if Dentons continues to minimize the communications.
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 lawsuit on behalf of Ms. Bingham”).) As to the other Rules of Professional Conduct identified by

 the undersigned, Dentons simply stated that neither Baughman nor any other attorney at Dentons

 had represented KFW in “the same or a substantially related matter” and that Baughman “is not

 participating in the pending lawsuit.” (Id.) Dentons then said that none of its attorneys were

 “aware of any information acquired during our firm’s previous consultations with KFW . . . .” (Id.)

 Dentons did not say that Baughman or any other attorney were screened off from participating in

 the lawsuit, or that any information from Dentons’s prior representation was unavailable to

 Dentons’s counsel of record—they just were not “aware” of any.

        Dentons then concluded its letter by blaming its former client, KFW. It ignored all of its

 own professional responsibilities before brazenly concluding that KFW had somehow waived the

 conflict—an issue that Dentons never bothered identifying or explaining to its client in the first

 place. (Id.)

        In response, the undersigned more specifically asked Dentons if it “possess[ed] any

 documents that would mitigate against a conflict.” (Exh. B, 3/21/2025 email.) Such a document

 might have been a written waiver of conflicts from KFW. Dentons provided no such document.

 (Id., 3/24/2025 email.)

                                           ARGUMENT

        Dentons has ignored its obligations to KFW as a then-current client, and as a now-former

 client, under the Kentucky Rules of Professional Conduct. It must not be permitted to represent

 Bingham in a matter that is directly adverse to its long-time client, KFW, and that concerns specific

 issues on which Dentons previously represented KFW.

        Determining whether to disqualify an attorney requires balancing “policy interests of

 preserving client confidences and of permitting a party to retain counsel of its choice.” Dirksing v.



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 Safeco Ins. Co. of Illinois, 544 F. Supp. 3d 767, 770 (E.D. Ky. 2021) (internal quotation omitted).

 The court should balance the safeguarding of the judicial process along with “the interests of each

 party to the litigation.” Id. (internal quotation omitted).

         While ethical rules regarding practice in federal courts are ultimately questions of federal

 law, courts look to the state rules of professional conduct. Id.; see also L.R. 83.3(c) (authorizing

 courts in the Eastern and Western Districts to discipline attorneys for violating the Kentucky Rules

 of Professional Conduct). Here, Rules 1.7, 1,9, and 1.10 of the Kentucky Rules of Professional

 Conduct require disqualification because Dentons violated its obligations to a “current client” at

 the time it began its representation of Bingham in this matter and its obligations to a “former client”

 since that time.

   I.    DISQUALIFICATION IS REQUIRED BECAUSE DENTONS BREACHED ITS
         OBLIGATIONS TO A “CURRENT CLIENT” UNDER SCR 3.130(1.7).

         Rule 1.7 governs conflict of interests among current clients and states in relevant part:

                 (a)     Except as provided in paragraph (b), a lawyer shall not
                         represent a client if the representation involves a concurrent
                         conflict of interest. A concurrent conflict of interest exists if:

                         1.      The representation of one client will be directly
                                 adverse to another client; . . . .

 S. Ct. R. 3.130(1.7)(a)(1). Rule 1.7 allows attorneys to represent current clients even when a

 conflict of interest exists but only if the attorney takes the steps outlined in sub-part (b):

                 (b)     Notwithstanding paragraph (a), a lawyer may represent a
                         client if:

                         1.      the lawyer reasonably believes that the lawyer will
                                 be able to provide competent and diligent
                                 representation to each affected client;
                         2.      the representation is not prohibited by law;
                         3.      the representation does not involve the assertion of a
                                 claim by one client against another client
                                 represented by the lawyer in the same litigation or
                                 other proceeding before a tribunal; and
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                        4.      each affected client gives informed consent,
                                confirmed in writing. The consultation shall include
                                an explanation of the implications of the common
                                representation and the advantages and risks
                                involved.

 S. Ct. R. 3.130(1.7)(b) (emphases added). “Application of [Rule 1.7] to the present case is

 essentially mechanical.” El Camino Res., Ltd. v. Huntington Nat. Bank, 623 F. Supp. 2d 863, 877

 (W.D. Mich. 2007) (applying Michigan’s analogous rule to a case where several of a firm’s clients

 were involved as opposing parties). But this rule nonetheless has broad-sweeping implications:

                Loyalty to a current client prohibits undertaking representation
                directly adverse to that client without that client’s informed consent.
                Thus, absent consent, a lawyer may not act as an advocate in one
                matter against a person the lawyer represents in some other matter,
                even when the matters are wholly unrelated.

 S. Ct. R. 3.130(1.7) cmt. 6 (emphases added).

        Additionally, Rule 1.10 states that, for lawyers associated in a firm, none of them can

 knowingly represent a client “when any one of them practicing alone would be prohibited from

 doing so by Rules 1.7 or 1.9, . . . .” S. Ct. R. 3.130(1.10)(a). Firms can avoid disqualification if

 (i) the disqualification of one of its attorneys is based on representation of a former client; (ii) the

 disqualified attorney is screened from participation in the matter; and (iii) written notice is

 provided to the former client. S. Ct. R. 3.130(1.10)(d). Rule 1.10 does not include a process for

 law firms to avoid imputation of disqualification for conflicts with current clients.

         It is undisputed that Rule 1.7 applied to KFW as a current client of Dentons until at least

 March 18, 2024. With Dentons filing Bingham’s Complaint on March 29, 2024, it is highly likely

 that Dentons was already representing Bingham with respect to this matter before March 18, 2024.

 It is difficult to imagine that—within a 10.5 day period beginning on March 18th—Bingham first

 approached Dentons about filing this lawsuit, consulted with Dentons sufficiently to allow Dentons



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 to prepare the Complaint, and then Dentons prepared and filed the Complaint. Such processes

 typically take longer. And, if that actually occurred, Dentons should have explained that to the

 undersigned when he originally asked. (See Exh. C.)

         Moreover, the abrupt timing of Dentons’s termination letter, and the utter lack of

 explanation in it, strongly suggest that Dentons had consulted with Bingham about her dispute

 prior to sending the letter—at a time when KFW was a current client, had recently communicated

 with Baughman about a matter that is part of this case, and was awaiting legal advice following

 that communication—and that the Bingham representation was in fact the reason for terminating

 KFW. Otherwise, Dentons’s termination would make no sense. It would have been terminating a

 long-time client—and long-time source of revenue—for no reason just days before it

 coincidentally took on a representation of an adverse party.

         Conflicts and disqualification for Baughman and the other attorneys who worked for KFW

 were imputed to Dentons overall pursuant to Rule 1.10.4 See S. Ct. R. 3.130(1.10).

         While Dentons could cure certain conflicts under Rule 1.7(b), its lawsuit against KFW is

 not one of those exceptions. See id. (1.7)(b)(3) (stating that a conflict can be cured if it does not

 involve asserting a claim against another client.) Further, at no point did Dentons seek, or did

 KFW provide, informed consent, let alone in writing. See id. (b)(4); see also Exh. C (stating that

 Dentons did not need to receive KFW’s consent). Under a direct application of Rule 1.7, then,




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   While Baughman was KFW’s primary contact, he collaborated with other Dentons attorneys as
 needed. (LaRue Aff., Exh. A, ¶ 8.) All of these other attorneys would also be disqualified—but
 KFW does not know who they are. Dentons’s letter suggested that these attorneys left Dentons
 “years ago . . . .” (Exh. C.) But Dentons offered zero supporting facts to substantiate that
 statement. They did not identify when those attorneys purportedly left, or even provide their
 names.
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 Dentons was clearly operating under a concurrent conflict of interest by pursuing claims that were

 directly adverse to KFW. Its representation of Bingham in this matter was prohibited.

           As mentioned above, Dentons’s attempt to terminate its relationship shortly before filing

 a lawsuit directly adverse to KFW suggests that Dentons was trying to avoid Rule 1.7 and its clear

 prohibition against suing a current client. Dentons dropped KFW as a client and now argues that

 “our firm had no attorney-client relationship with KFW at the time it filed the pending lawsuit on

 behalf of Bingham, . . . .” (Exh. C.) But this tactical shuffling of clients is soundly rejected by

 courts.

           Attorneys cannot drop clients like a “hot potato” simply because a more attractive and/or

 lucrative opportunity comes along. “The courts universally hold that a law firm will not be allowed

 to drop a client in order to resolve a direct conflict of interest, thereby turning a present client into

 a former client.” El Camino Resources, Ltd., 623 F. Supp. 2d at 877 (collecting cases).

                 Pursuant to this universal rule, the status of the attorney/client
                 relationship is assessed at the time the conflict arises, not at the time
                 the motion to disqualify is presented to the court. If this was not the
                 case, the challenged attorney could always convert a present client
                 into a “former client” by choosing when to cease to represent the
                 disfavored client. This unilateral abrogation of the duty of loyalty
                 cures nothing, but serves to make matters worse.

 Id. at 878 (internal citation and quotations omitted).

           The Restatement of the Law Governing Lawyers agrees: withdrawal by an attorney is

 appropriate and converts a client into a “former” client when the representation ends “at a point

 that the client and lawyer had contemplated as the end of the representation . . . .” Restatement

 (Third) of the Law Governing Lawyers § 132 (cmt. c) (2024 update). But the attorney cannot

 “transform[]” a present-client conflict into a former-client conflict by withdrawing from current

 representation simply because it is convenient to do so. Id.; see also KBA Ethics Op., E-443 (Nov.



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 17, 2017) (stating that, if a firm inherits a matter adverse to a current client through a merger, “[t]he

 firm may not drop a client without its consent to cure a conflict.”).

         Dentons violated this “universal rule.” See El Camino Resources, Ltd., 623 F. Supp. 2d at

 878. The March 18th termination letter was not the natural end that KFW and Dentons “had

 contemplated”—it was simply a convenient one for Dentons.                 KFW is not aware of any

 engagement letters that created boundaries for or otherwise limited KFW’s relationship with

 Dentons. (LaRue Aff., Exh. A, ¶ 8.)         KFW considered their relationship as ongoing: this is

 evidenced by the fact that KFW contacted Dentons for legal advice as recently as March 5, 2024.

 (Id., ¶¶ 8, 10.) It is further evidenced by Dentons’s March 18, 2024 letter. If there was not an

 ongoing relationship, there would have been no need for that letter. Dentons does not dispute that

 it represented KFW, nor does it dispute that its representation was active until March 18, 2024.

 (Exh. C.) It tries to minimize that ongoing relationship—but it does not deny it existed. (See id.)

         And, despite Dentons’s attempt to rewrite the narrative, Dentons, through Baughman,

 agreed to have a privileged conversation with KFW and to obtain its confidential information about

 an issue that is now part of this case. (LaRue Aff. ¶ ¶ 10.) Their attorney-client relationship was

 not just on-going prior to March 18, it was recently active and in-process.

         Dentons unilaterally terminated its relationship with KFW at a time that the parties had not

 contemplated. Dentons’s actions in terminating its relationship with KFW so it could pursue

 litigation against KFW on behalf of another client cannot successfully remove it from Rule 1.7.

          Because Dentons violated its duty of loyalty to KFW under Rule 1.7, it should be

 disqualified from representing Bingham in this matter.

  II.    DISQUALIFICATION IS REQUIRED BECAUSE DENTONS BREACHED ITS
         OBLIGATIONS TO A “FORMER CLIENT” UNDER SCR 3.130(1.9(A)).




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        Even if Dentons could have successfully ended its relationship with KFW prior to

 beginning one with Bingham for this lawsuit, Dentons’s actions still violated its ethical obligations

 to KFW inasmuch as KFW was a former client because this lawsuit involves issues and claims

 that are the “same” or “substantially similar” to Dentons’s prior representation of KFW. The

 Kentucky Rules of Professional Conduct explain an attorney’s responsibilities to its former clients

 under Rule 1.9.

       (a) A lawyer who has formerly represented a client in a matter shall not thereafter represent
           another person in the same or a substantially related matter in which that person’s
           interests are materially adverse to the interests of the former client unless the former
           client gives informed consent, confirmed in writing.

 S. Ct. R. 3.130(1.9)(a). Conflicts under Rule 1.9 for one attorney in a firm are imputed to the

 entire firm unless the disqualified attorney is screened from participation in the matter and written

 notice is provided to the former client. S. Ct. R. 3.130(1.10)(a), (d).

        The Sixth Circuit uses a three-part test to determine if disqualification is warranted based

 on a relationship with a former client: (1) a past attorney-client relationship existed between the

 party seeking disqualification and the attorney at issue; (2) the subject matter of those relationships

 is “substantially related”; and (3) the attorney acquired confidential information from the party

 seeking disqualification. In re Valley-Vulcan Mold Co., 5 F. App’x 396, 401 (6th Cir. 2001) (citing

 Dana Corp. v. Blue Cross & Blue Shield Mut., 900 F.2d 882, 889 (6th Cir. 1990)). In a decision

 applying Kentucky Rule 1.9 and disqualifying counsel as conflicted, the Sixth Circuit has

 determined that these factors are “essentially the same” as Rule 1.9(a). Bowers v. Ophthalmology

 Grp., 733 F.3d 647, 651 (6th Cir. 2013).

        Multiple issues related to this consideration are not up for debate: Dentons had an attorney-

 client relationship with KFW for at least 10 years prior to March 18, 2024; Bingham’s interests are

 directly adverse to KFW’s interests in this lawsuit; Dentons did not receive (or even ask for)

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 KFW’s consent in representing Bingham in this matter; and Dentons did not provide notice to

 KFW that any of its attorneys had been screened from this matter. (Id. ¶ 16–18; Exh. C.) There is

 also reason to believe that Dentons did not actually screen those conflicted attorneys. Dentons did

 not inform the undersigned of such a screening when it had the chance to do so in its March 20,

 2025 letter. Under Rule 1.10(b), the disqualification of Baughman or any attorney who provided

 legal counsel (directly or indirectly through Baughman) is imputed to Dentons overall.

        The issues for the Court, then, are whether this lawsuit is the “substantially related” to

 Dentons’s prior representation of KFW and whether Dentons received confidential information

 from KFW in that representation. See In re Valley Vulcan Mold Co., 5 F. App’x at 401.

        To analyze the “substantially related” question, the Bowers court looked to the comments

 to Rule 1.9, which states that “[m]atters are ‘substantially related’ . . . if they involve the same

 transaction or legal dispute or if there is otherwise a substantial risk that confidential factual

 information as would have normally have been obtained in the prior representation would

 materially advance the client’s position in the subsequent matter.” Bowers, 733 F.3d at 652

 (quoting cmt. 3 to Rule 1.9) (second alteration in original). It also looked to an opinion from a

 district court in Kansas that said:

                In determining whether a substantial relationship exists, the court
                evaluates the similarities between the factual bases of the two
                representations. A commonality of legal claims or issues is not
                required. At a functional level, the inquiry is whether the attorneys
                were trying to acquire information vitally related to the subject
                matter of the pending litigation. To accomplish this inquiry, the
                court must be able to reconstruct the attorney’s representation of the
                former client, to infer what confidential information could have been
                imparted in that representation, and to decide whether that
                information has any relevance to the attorney’s representation of the
                current client. What confidential information could have been
                imparted involves considering what information and facts ought to
                have been or would typically be disclosed in such a relationship.
                Consequently, the representations are substantially related if they

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                involve the same client and the matters or transactions in question
                are relevantly interconnected or reveal the client’s pattern of
                conduct.

 Id. (quoting Koch v. Koch Indus, 798 F. Supp. 1525, 1536 (D. Kan. 1992)) (emphases added).

        Conducting this analysis is sanitized, to an extent, because former clients are not required

 to reveal confidential information to establish that there is a substantial risk the lawyer has

 confidential information it can use in the subsequent matter. See id. at 651. “Given this limitation,

 we must determine whether matters are ‘substantially related’ while avoiding specific inquiries

 into the attorney’s representation of a now-adverse client.” Id. at 652. “[T]he court must look to

 the general type of information that the potentially conflicted lawyer would have been exposed to

 in a normal or typical representation of the type that occurred with the now-adverse client.” Id.

 (internal citation omitted). This analysis results in the final two Dana prongs identified above

 (whether the matter is substantially related and whether the attorney received confidential

 information) being “essentially . . . interdependent on one another.” Gibson v. Wikeley, Inc.,

 5:23-cv-116-GFVT-MAS, 2023 WL 4934988, at *4 (E.D. Ky. Aug. 2, 2023) (internal quotation

 omitted).

        While the Sixth Circuit acknowledged this inquiry “has its difficulties,” see Bowers, 733

 F.3d at 652, it is easily answered in this matter. LaRue’s affidavit explicitly states that she sought

 Baughman’s advice (and indirectly his colleagues’) on issues that are part of this lawsuit. She

 consulted with him and other Dentons attorneys since 2018 on issues that included: disagreements

 between KFW and Bingham regarding the use of her property surrounding Hopscotch House;

 Bingham’s attempt to secure a right of first refusal to purchase Hopscotch House; and protecting

 KFW’s reputation following defamatory statements made by Bingham (which she made in




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 response to KFW listing Hopscotch House for sale).5 (LaRue Aff., Exh. A, ¶ 9; see also;

 Counterclaims, D.N. 10, ¶ 35, 37–38.)

        All of these communications “are relevantly interconnected . . .” to Bingham’s and KFW’s

 claims in this lawsuit. See Bowers, 733 F.3d at 652 (quoting Koch, 798 F. Supp. at 1536.) These

 privileged communications would also reveal KFW’s “pattern of conduct” regarding its

 interpretation of and proposed plans for addressing these same issues. See id. That information

 could advance Bingham’s position in this lawsuit.

        In the Bowers decision, the Sixth Circuit conducted the kind of hypothetical analysis that

 is required when a prior representation is not directly or obviously a part of the current case, and

 it disqualified counsel because the type of prior representation in that case would have necessarily

 involved the sharing of information that would be relevant the current representation in that case.

 Id. at 653–54. That kind of hypothetical analysis is not as necessary here where Dentons’s prior

 representation of KFW included at least three matters directly invoked in the parties’ pleadings.

 However, the Court may still follow the roadmap in Bowers to discern that plenty of confidential,

 relevant information “could have” or “would typically be disclosed” by KFW to Dentons in their

 prior representations—all of them, not just the three explicitly at issue in this case—that would be

 relevant in this lawsuit. Id. at 652 (quoting Koch, 798 F. Supp. at 1536).

        Therefore, under Rule 1.9(a) and the Dana factors, Dentons’s representation of Bingham

 in this dispute creates an improper conflict of interest. Dentons did not provide any statement

 under Rule 1.10(b) that explains Baughman or other attorneys were screened off from the matter

 and that otherwise notified KFW of Dentons’s involvement in this lawsuit. Hence, because



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   As before, KFW has records proving that KFW communicated with its longtime attorneys on
 these issues, which the Court can review ex parte and in camera if Dentons continues to falsely
 claim otherwise.
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 Baughman and other undisclosed Dentons attorneys are disqualified, all of Dentons is disqualified.

 See S. Ct. R. 1.10(a); see also Dirksing, 544 F. Supp. 3d at 773 (“Harsh as the result may be,

 Allouch’s initial involvement and Graydon’s failure to follow the requirements outlined under Rule

 1.10 compels no other result.”); Hometown Pizza, Inc. v. Hometown Pizza II, LLC, 3:22-cv-20-

 RGJ, 2022 WL 2392642, at *4 (W.D. Ky. July 1, 2022) (imputing one attorney’s disqualification

 to her firm under Rule 1.10(a)).

        For the foregoing reasons, Dentons has a conflict of interest preventing it from representing

 Bingham in this matter. Dentons should therefore be disqualified.

 III.   DENTONS SHOULD COMPENSATE KFW FOR ITS LEGAL FEES AND COSTS
        FOR BRINGING THIS MOTION.

        The Court should issue sanctions by requiring Dentons to reimburse KFW’s attorney fees

 and costs incurred through bringing this motion and a related motion for protective order. Neither

 motion would have been necessary but for Dentons’s actions. “It is well established that courts

 possess inherent authority to impose sanctions on attorneys appearing before them. This includes

 the power to sanction attorneys for violations of a state’s ethical rules.” Archer Systems, LLC v.

 Rawlings & Assocs. PLLC, 3:23-cv-242-RGJ, 2024 WL 3585143 at *10 (W.D. Ky. July 30, 2024)

 (internal citations omitted).

        Sanctions are appropriate in this case first and foremost because KFW, a small non-profit

 with no in-house attorneys, should not be financially injured by enforcing its rights against its

 former legal counsel—rights about which Dentons should have advised KFW in the first place.

 Moreover, the conflicts that Dentons faced appear to have been clear and egregious, yet Dentons

 acted through conscious, calculated decisions to ignore the conflicts. Dentons consulted its general

 counsel about a possible conflict of interest at the outset of its representation of Bingham in this

 case. The record strongly suggests that Dentons did this while KFW was still a current client. Yet

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 Dentons did not ask KFW for its consent. It did not refer Bingham to a different law firm. It

 appears to have done what courts universally prohibit—dropping KFW as a client to try to avoid

 a conflict. El Camino Resources, Ltd., 623 F. Supp. 2d at 877 (collecting cases). Because Dentons

 would not honor KFW’s rights, KFW was left to enforce those rights through this motion.

        Additionally, even if Dentons were to produce documentation to the Court that mitigates

 its conflicts, Dentons should still be responsible for paying KFW’s legal fees and costs in bringing

 this motion. KFW’s counsel promptly raised this issue with Dentons. The undersigned contacted

 Dentons on March 17, 2025—two business days after KFW first mentioned it to counsel. (See

 LaRue Aff., Exh. A, ¶ 15; Exh. B, 3/17/2025.) The undersigned identified his concerns to Dentons,

 asked Dentons to respond by explaining its position on the issue, and asked not once but twice for

 information and documentation that could obviate the need for this motion. Dentons provided no

 information (other than superficial denials) or documentation in response. KFW has no reason to

 believe that Dentons could produce such documentation or information to the Court. But, if it did,

 it should have first presented that information and/or documents to the undersigned in order to

 avoid this motion. Its refusal to do so should result in Dentons compensating KFW for the costs

 of brining this motion.

        KFW should not have been put in this position. It was owed numerous considerations

 under the Rules of Professional Conduct but received none of them. Dentons failed to uphold its

 responsibilities as KFW’s counsel and that warrants sanctions, even if they are not disqualified.

 IV.    KFW DID NOT WAIVE ITS RIGHT TO MOVE TO DISQUALIFY DENTONS.

        Dentons has incorrectly argued to KFW that KFW waived this conflict of interest. (See

 Exh. C.) It is possible to waive a party’s right to disqualify conflicted counsel the party does so

 knowingly. See In re Valley-Vulcan Mold Co., 5 Fed. App’x at 401 (“It is well settled that a former



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 client who is entitled to object to an attorney representing an opposing party on the ground of

 conflict of interest but who knowingly refrains from asserting it promptly is deemed to have waived

 that right.” (internal quotation omitted and emphasis added)). But that simply did not happen here.

        KFW did not, and could not, knowingly waive the conflict of interest. As explained in

 LaRue’s affidavit, no one at KFW understood the implications of Dentons’s prior representation

 vis a vis this lawsuit. (LaRue Aff., Exh. A, ¶ 14–15.) None of KFW’s employees are attorneys.

 (Id. ¶¶ 4–5.) It did not understand that it had any rights to (i) receive a written notification and an

 assurance that its confidential information was protected, or (ii) consent in writing to Dentons’s

 representation of Bingham in this suit. See S. Ct. R. 3.130 (1.7)(b), (1.9)(a), (1.10)(b). KFW also

 had no idea that, in general, attorneys and their firms are not allowed to represent adverse clients

 in the same matters. See id. (1.7)(b)(3). Hence, KFW could not “knowingly” waive a right that it

 did not know existed.

        KFW was not aware of its rights until it unintentionally raised this issue with its current

 counsel. Then, KFW moved swiftly to notify Dentons of its concern and to ask Dentons for more

 information. After Dentons stonewalled those efforts, KFW promptly moved to disqualify. KFW

 has not, in any way, engaged in delay tactics.

        Nothing in this chain of events establishes waiver. This timeline is not similar to other

 cases in this Circuit where courts determined that parties had waived their ability to disqualify

 former counsel. See In re Valley-Vulcan Mold Co., 5 Fed. App’x at 401 (holding a party waived

 its right to disqualify when it “employ[ed] delay tactics” by waiting until less than a week before

 trial); Lani on behalf of Schiller Kessler & Gomez, PLLC v. Schiller Kessler & Gomez, PLC,

 3:16-cv-00018-CRS, 2017 WL 938327, at *3 (W.D. Ky. Mar. 9, 2017) (holding a party waived its

 right to disqualify counsel after the party mentioned disqualification in one motion before then



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 engaging in multiple other kinds of motion practice and hearings without moving to disqualify for

 over one year); Swilley v. Tipton, No. 04-cv-638-KKC, 2007 WL 316951, at *7 (E.D. Ky. Jan. 30,

 2007) (holding that a party, who was an attorney herself, waived her right to disqualify counsel

 after failing to promptly raising it in a state case and then filing a separate federal action against

 the conflicted lawyer at issue). KFW never acknowledged to the Court that this issue existed

 before sitting on its rights for over a year. See Lani, 2017 WL 938327, at *3. And KFW is not a

 party that could have plausibly understood this issue without the assistance of counsel. See Swilley,

 2007 WL 316951, at *7. KFW moved to disqualify in less than one month after informing its

 counsel.

        Furthermore, there is no overriding prejudice to Bingham here. While this matter has

 technically been pending for a year, nearly nothing substantive has occurred during this time. The

 parties only recently completed their full Rule 26(f) conference on March 26, 2025, and only one

 set of written discovery has been served (which Bingham served after knowing that KFW was

 investigating this motion). There is no a trial date yet, let alone any other kind of deadlines. KFW

 is also moving to stay discovery while this disqualification motion is pending. If granted, the

 parties will not be able to conduct any discovery until this issue is decided.

        KFW, on the other hand, has been severely prejudiced by Dentons’s actions. Interestingly,

 Dentons’s termination letter informed KFW that terminating its representation would not prejudice

 KFW. That statement failed to account for how significantly KFW relied on Dentons. Because of

 the length and comprehensive scope of its relationship with Dentons, and because no employee or

 staff member has been involved with KFW nearly as long as Dentons had been, KFW relied on

 Dentons for its institutional memory and knowledge of past strategies and organizational decisions.

 (Id. ¶ 19.) Losing that relationship has caused significant detriment to KFW, especially as it finds



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 itself defending against a lawsuit that involves past events that Dentons was involved in but that

 no current KFW employee or board member was. (Id. ¶ 19.) As if that were not prejudice enough,

 Dentons initiated this lawsuit on March 29, 2024 as Bingham’s counsel, (see Compl., D.N. 1.),

 denying KFW of its institutional knowledge and putting it in the hands of the party suing KFW.

           Moreover, the length of time in which KFW raised the conflict was largely of Dentons’s

 making. Dentons never advised KFW about conflicts and their implications. It never informed

 KFW of the possible conflict with Bingham or sought KFW’s consent. If it had, KFW could have

 raised this issue sooner. A client, especially a small non-profit with no in-house attorneys, must

 be able to rely on its outside counsel to soundly advise it on matters related to the firm’s

 representation of the client. Dentons did not live up to its obligations in that respect. Rather, it

 consciously avoided them. Thus, Dentons cannot claim a purported waiver that it would have

 caused.

           For these reasons, KFW did not waive its right to seek disqualification of Dentons based

 on this conflict of interest. KFW is not asking at this time for a hearing on this motion but reserves

 the right to do so.

                                           CONCLUSION

           “There are no small or unimportant clients.” El Camino Res., Ltd., 623 F. Supp. 2d at 877.

 KFW was a long-standing client of Dentons. It regularly sought and received legal advice from

 Dentons on a number of issues, some of which are now being litigated in this case. While Dentons

 attempted to rewrite this relationship, it cannot change the fact that—as a client—KFW has rights

 associated with that relationship. Dentons’s representation of Bingham in this matter violates the

 Kentucky Rules of Professional Conduct. For the reasons stated herein, Dentons should be




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 disqualified and ordered to pay KFW for its legal fees and costs in bringing this motion and the

 related motion for protective order.

                                                 Respectfully submitted,

                                                 /s/ Matthew R. Palmer-Ball
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                                  CERTIFICATE OF SERVICE
         I hereby certify that on April 11, 2025, I filed a true and correct copy of the foregoing
 document with the Clerk of the Court using the CM/ECF system, which will send notice of
 electronic filing to all counsel of record.

                                             /s/ Matthew R. Palmer-Ball
                                             Matthew R. Palmer-Ball




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